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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

RUSS MCCULLOUGH, et al.,                :
     Plaintiffs,                        :
                                        :       No. 3:15-cv-01074 (VLB)
v.                                      :       Lead Case
                                        :
WORLD WRESTING                          :
ENTERTAINMENT, INC.,                    :       March 25, 2018
    Defendant.                          :
                                        :

EVAN SINGLETON and VITO                 :
LOGRASSO,                               :
     Plaintiffs,                        :       No. 3:15-cv-00425 (VLB)
                                        :       Consolidated Case
v.                                      :
                                        :
WORLD WRESTING                          :       March 27, 2018
ENTERTAINMENT, INC.,                    :
    Defendant.                          :
                                        :

     MEMORANDUM OF DECISION GRANTING DEFENDANT WORLD WRESTLING
     ENTERTAINMENT, INC.’S MOTION FOR SUMMARY JUDGMENT [DKT NO. 330]

     I.   Introduction

          This action was brought by professional wrestlers Evan Singleton and Vito

LoGrasso, who allege that Defendant WWE fraudulently failed to inform them of a

link between repeated concussive or subconcussive blows to the head and

permanent degenerative neurological conditions. Now before the Court is

Defendant World Wrestling Entertainment’s (“WWE”) motion for summary

judgment on Singleton’s and LoGrasso’s claims for fraud by omission—the only

claims that survived the Defendant’s Motion to Dismiss [Dkt. No. 43]. For the

reasons that follow, Defendant’s motion is GRANTED.




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    II.   Background

             A. Defendants’ Knowledge of a Link Between Head Trauma and
                Permanent Degenerative Neurological Conditions

          A key issue in this case is when WWE first learned of a potential link

between concussive and subconcussive blows suffered by professional wrestlers

and permanent degenerative neurological disorders such as chronic traumatic

encephalopathy (“CTE”). Plaintiffs’ Rule 56(a)(2) statement is rife with

mischaracterizations of the evidence as it pertains to this issue. After careful

consideration of the evidence in the light most favorable to the Plaintiffs, the

Court has determined that the evidence does not support a finding that WWE

knew of a risk that repeated head injuries incurred while performing as a

professional wrestler could cause permanent degenerative neurological

conditions prior to September 5, 2007. The reasons for this finding are discussed

in the paragraphs that follow.

          Plaintiffs argue that WWE knew of the risks of repeated head injuries as

early as the 1980s. In support, Plaintiffs cite to the deposition of Dr. Joseph

Maroon, a neurosurgeon who developed a concussion assessment for athletes,

in which he testified that doctors developed a concussion management protocol

as early as the 1980s, and that they were aware of the risks of post-concussion

syndrome “long before 2008.” [Maroon Dep. at 21-22]. Plaintiffs also cite the

testimony of Mark Lovell, a neuropsychologist who worked with Dr. Maroon on

concussion testing amateur and professional football players beginning in the

1980s, professional hockey players beginning in 1997, professional soccer

players beginning in 2005, and professional race car drivers in the early 2000s.

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[Lovell Dep. at 24-35]. Dr. Lovell testified that putting an athlete who suffered a

concussion back into a game too soon could cause “long-term issues” like

memory loss, headaches, dizziness, balance issues, changes in mood and affect,

and potentially suicidal ideation. [Lovell Dep. at 39-51]. Neither Dr. Maroon nor

Dr. Lovell were retained by WWE prior to 2008. Therefore, even if Dr. Maroon’s

and Dr. Lovell’s statements about concussion science in the 1980s and 1990s

could be understood to imply that the risk of permanent degenerative

neurological conditions was known to them or to other members of the medical

community at that time, that knowledge cannot be imputed to WWE until 2008 at

the earliest

      In addition to the testimony of the doctors WWE retained to conduct

concussion testing in 2008, Plaintiffs cite to two pre-2007 articles relating to

concussions. The first is a 2005 Mayo Clinic article which describes “second

impact syndrome,” which “occurs when a person has a recurrent head trauma

while still recovering from a concussion . . . [and] can lead to devastating

swelling of the brain, which could [be ]fatal.” [Pl. Exh. 23 at 2]. The article also

states that “[s]ome people experience postconcussion syndrome, a condition in

which the symptoms of concussion”—such as “memory and concentration

problems, headaches, dizziness, confusion or irritiability”—persist for weeks or

months after the initial head trauma.” [Pl. Exh. 23 at 3]. According to the Mayo

Clinic article, neither second impact syndrome nor postconcussion syndrome are

permanent neurogenerative diseases. Rather, the article describes acute




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swelling of the brain, and postconcussion symptoms that last months rather than

permanently.

      The second article was written by Dr. Bennett Omalu in 2005, and detailed

the first known case of CTE in a professional football player. In his conclusions,

Dr. Omalu stated,

      “This case highlights potential long-term neurodegenerative outcomes in
      retired professional National Football League players subjected to repeated
      mild traumatic brain injury. The prevalence and pathoetiological
      mechanisms of these possible adverse long-term outcomes and their
      relation to duration of years of playing football have not been sufficiently
      studied. We recommend comprehensive clinical and forensic approaches
      to understand and further elucidate this emergent professional sport
      hazard.”
[Pl. Exh. 21 at SINGLETON_0000086] (emphasis added). The article also stated,

“This case study by itself cannot confirm a causal link between professional

football and CTE. However, it indicates the need for comprehensive cognitive

and autopsy-based research on long-term postneurotraumatic sequelae of

professional American football.” Id. at SINGLETON_0000090. Plaintiff offers as

evidence that WWE knew about this article news coverage relating to its

equivocal and inconclusive article. [See Pl. Exh. 22, 48]. However, Plaintiff has

offered no evidence that WWE was aware of any of this news coverage or of Dr.

Omalu’s 2005 article. Plaintiff further offers no evidence to suggest that at the

time Dr. Omalu’s article was published, any research existed that would suggest

that Dr. Omalu’s findings regarding one football player might apply to

professional wrestlers, or that the frequency and severity of head trauma suffered

by football players is similar to that suffered by professional wrestlers.




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      Plaintiffs also argue that WWE learned of a link between concussions and

permanent neurodegenerative disease from Chris Nowinski, a former wrestler

who retired from wrestling in 2003 following a diagnosis of post-concussion

syndrome. Plaintiffs claim that Nowinski remained employed by WWE following

his retirement from wrestling, and that during that time, he began researching the

connection between repeated concussions and permanent degenerative

neurological conditions. [Dkt. 346 ¶ 163]. Based on this research, Nowinski

published a book in September 2006, titled “Head Games: Football’s Concussion

Crisis.” [Pl. Exh. 24].

      Plaintiff’s exhibits regarding Nowinski’s work with WWE between 2003 and

2006 are consistent with the affidavit that Nowinski filed with the Court in

connection with a discovery dispute in this case. He stated, “After I retired from

wrestling in 2003, I occasionally participated in WWE programs as an

independent contractor through independent contractor agreements. As my

LinkedIn profile indicates, I primarily participated in programs designed to

increase youth voter turnout in political elections.” [Dkt. No. 182-2 ¶ 2]. He

further stated, “I did not work at WWE corporate headquarters as part of my

participation in these programs. I did not have ‘regular interactions with WWE

executives,’ as Plaintiffs assert, as part of my participation in these programs.”

Id. ¶ 3. Nowinski further described his research as “independent” and stated that

he lived in Boston, MA while he was researching his book. Id. ¶ 4.

      This Court has previously addressed Nowinski’s involvement with WWE

between 2003 and 2006, holding that “Plaintiff . . . has offered no facts to suggest



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that Nowinski’s work with ‘Smackdown Your Vote’ during the time period in

which he researched and authored the book provides him with any knowledge

relevant to” WWE’s specific knowledge of or an appreciable risk of a link between

wrestling activity and permanent degenerative neurological conditions. [Dkt.

Nos. 160, 183]. Since the Court issued that ruling, Plaintiffs have not offered any

new evidence showing that WWE was aware of Nowinski’s research, that anyone

at WWE read Nowinski’s book, or that anything in Nowinski’s book would

suggest a link between professional wrestling and permanent degenerative

neurological conditions. Indeed, while Nowinski did wrestle professionally, he

also played football for many years, and if the title of the book provides an

accurate assessment of its content, the book focuses on a “concussion crisis” in

football, not wrestling.1

              In June 2007, the professional wrestler Chris Benoit killed his wife and

child before committing suicide, prompting Nowinski to publicly speculate that

“untreated concussions might have caused [Benoit] to snap.” [Pl. Exh. 36].

During a September 5, 2007 press conference, it was revealed that the wrestler


                                                            
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  Plaintiffs’ Rule 56(a)(2) statement states, “WWE knew prior to September 2006
that its employee Chris Nowinski was researching the risks of long-term
neurological issues and CTE with repeated concussions in the years leading up
to the publishing of his book. Mr. McMahon even confronted Nowinski about the
accusations. Moreover Linda McMahon, CEO of WWE at the time, and Nowinski
had a conversation about Nowinski’s research. At the very latest, WWE knew
about Nowinski’s research and findings when his book was published in
September 2006 and began a media tour discussing concussions he suffered in
the WWE.” [Dkt. No. 346 ¶ 170 (citations omitted]. Upon review of the cited
deposition testimony, the Court finds that the deposition testimony Plaintiffs cite
in support of this statement does not, when fairly considered in context, suggest
that WWE was aware of Nowinski’s work on concussion research until September
2010. [V. McMahon Dep. at 189-90, 202-03, 212].
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Benoit had been diagnosed with CTE. [V. McMahon Dep. at 22; S. McMahon Dep.

at 51; Pl. Exh. 20]. In the immediate aftermath of this revelation, Vince and

Stephanie McMahon made several statements to the media in which they

questioned the credibility of the study. In particular, Vince McMahon stated that

“I would, as a layman certainly wonder whether or not that report has any

credibility” and Stephanie McMahon stated that “these studies have not been

proven.” [Pl. Exh. 31]. Vince McMahon mentioned his skepticism that Benoit

could truly have had the brain of an 85-year old with dementia to news outlets,

and in a letter to Benoit’s estate’s attorney as late as December 2009. [Pl. Exhs.

16, 31, 33]. While Benoit’s diagnosis was revealed in September 2007, a peer

review article regarding Benoit’s condition was not published until September

2010. [Def. Exh. 31].

         B. Concussion Mitigation Efforts

      Despite making public statements calling into question the validity of the

Benoit diagnosis, WWE took affirmative steps to inform wrestlers of the risks of a

brain injury and to assess the risks occasioned by wrestling. In March 2008,

WWE retained Dr. Maroon as its medical director, and licensed the Immediate

Post-Concussion Assessment and Cognitive Testing software (“ImPACT”). [Def.

Exh. 36 at WWE_SING00000277-97; S. McMahon Dep. at 62-63, 91; V. McMahon

Dep. at 105-06; Levesque Dep. at 129; Maroon Dep. at 8]. The contract that

secured the services of Dr. Maroon and the license for ImPACT also secured the

services of Dr. Lovell. [Lovell Dep at 11]. After retaining Dr. Maroon and

licensing ImPACT, WWE added neurological testing to its Wellness Program for



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current WWE talent for the first time. [V. McMahon Dep. at 36-37; Levesque Dep.

at 130-31]. In the Spring of 2008, ImPACT administered baseline tests to current

WWE talent. [Lovell Dep. at 57-59]. During baseline testing, the wrestlers are

educated about the signs and symptoms of concussions, including a list of 22

symptoms of a concussion. [Lovell Dep. at 58-59]. Since 2008, WWE talent have

been given baseline tests once per year. [Lovell Dep. at 63].

      The extent to which WWE talent was educated about the risks of permanent

degenerative neurological conditions resulting from concussions between 2008

and 2010 is in dispute. However, Dr. Maroon and Chris Nowinski gave several

presentations to talent regarding traumatic brain injuries between 2010 and 2015.

[V. McMahon Dep. at 42-43; Levesque Dep. at 137; Def. Exhs. 40-59].

         C. LoGrasso

      LoGrasso entered into a written booking contract with WWE regarding

LoGrasso’s wrestling services effective June 25, 2005. [LoGrasso Dep. Exh. 19].

WWE released LoGrasso from his contract with WWE on May 16, 2007.

[LoGrasso Dep. at 339; WWE-SING00000305-06]. During the time that LoGrasso

performed for WWE between 2005 and 2007, WWE had a doctor named Dr. Rios

who attended WWE events and treated WWE talent for in-ring injuries. [Levesque

Dep. at 104; McMahon Dep. at 16, 96-97]. Dr. Rios treated LoGrasso in this

capacity, but Dr. Rios was not LoGrasso’s personal physician. [LoGrasso Dep. at

194-95]. In June 2006, Defendant distributed a memorandum stating that “Dr.

Rios [was] not the personal physician for any WWE . . . Talent,” and that “Dr.

Rios’ main responsibility [was] to treat Talent at [WWE events] for injuries



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suffered as a result of a performance” and “[a]ny medical follow-ups for injuries”

was to be done by the talent’s personal physician.” [J. Laurinaitis Decl.]. The

parties dispute whether LoGrasso actually received a copy of this memorandum.

In February 2006, WWE instituted a Talent Wellness Program, which initially only

involved drug testing and cardiovascular testing. [S. McMahon Dep. at 14-15].

        LoGrasso claims that he suffered head trauma during five specific

matches, the latest of which took place on January 30, 2007. LoGrasso alleges

that he told WWE’s ringside physician, Dr. Rios, that he was experiencing

concussion-like symptoms, such as “headaches,” “feeling woozy,” and fatigue,

feeling lethargic, tired, etc.” [LoGrasso Dep. at 56, 58-59, 318-21]. Plaintiff

alleges that Dr. Rios did not provide appropriate care for a concussion, but rather

administered vitamin B-12 shots. [LoGrasso Dep. at 58, 321-22, Pl. Exh. 38].

        LoGrasso never received medical treatment from WWE or WWE’s Talent

Wellness Program for head injuries. [LoGrasso Supp. Response to WWE Rog. 5].

He did not receive treatment from or as a result of WWE’s Talent Wellness

Program for any injuries or illnesses. [LoGrasso Supp. Responspse to WWE

Rog. 5]. LoGrasso also admitted that he had no communications with WWE

about symptoms of traumatic brain injury after he last performed for WWE in

2007, and that WWE has provided no medical care to him since he left WWE.

[LoGrasso Response to WWE RFA 7, 8]. LoGrasso has, however, received annual

letters from WWE in which WWE offers to pay for drug or alcohol rehabilitation if

needed by a former performer. [LoGrasso Dep. at 277-79; WWE_SING00000507-

511].



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      LoGrasso was terminated by WWE in May 2007. [LoGrasso Dep. at 252-53].

In May 2009, LoGrasso sent an email to WWE seeking employment as a trainer,

but he did not state in that communication that he was suffering from symptoms

of traumatic brain injury. [LoGrasso Dep. Exh. 3; LoGrasso Dep. at 92-93].

LoGrasso was friends with Benoit and his wife, and he stated that he knew that

the murder-suicide was a huge story in the media and was well-known in the

wrestling business. [LoGrasso Dep. at 236, 239]. LoGrasso also knew that

Benoit’s CTE diagnosis was publicly reported around the time of the crime.

[LoGrasso Dep. at 239]. LoGrasso testified that he remembered WWE denying

Benoit’s actions had anything to do with wrestling, stating “[w]hen you make a

statement like that, you say, okay it had nothing to do with wrestling. You know,

and I trusted in the WWE and what they were saying at the time.” [LoGrasso Dep.

at 237, 326].

          D. Singleton

       Singleton received his baseline ImPACT test on December 1, 2011 and was

educated about the signs and symptoms of concussions at that time. [Lovell

Dep. at 58-59; Def. Exh. 37]. While Singleton denies attending any of WWE’s

informational sessions regarding concussion risks, he was required to attend a

presentation on August 9, 2012, AND on August 9, 2012, Singleton’s professional

Twitter account stated “Thank You @WWE for giving me the background.” [Def.

Exhs. 60, 62].

      On September 27, 2012, Singleton sustained a concussion while

performing a “choke slam” maneuver during a match. He denies sustaining a



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concussion at any time other than during the September 27, 2012 match.

[Singleton Dep. at 142-43]. The “choke slam” maneuver is a common move

performed in professional wrestling and one that Singleton had seen performed

countless times and one he fully expected that he would before when he became

a professional wrestler. [Singleton Dep. at 244]. Singleton was told before

receiving a choke slam that he would get hurt if he did not tuck his chin during

the move. [Singleton Dep. at 28]. However, during the September 27, 2012

match, he did not perform the maneuver correctly and was injured as a result.

[Singleton Dep. at 244]. After September 27, 2012, Singleton was never medically

cleared by WWE to wrestle, and he never wrestled again. [Singleton Dep. at 64-

65, 81].

    III.   Legal Standard

           Summary judgment should be granted “if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(a). The moving party bears the burden of

proving that no factual issues exist. Vivenzio v. City of Syracuse, 611 F.3d 98,

106 (2d Cir. 2010). “In determining whether that burden has been met, the court is

required to resolve all ambiguities and credit all factual inferences that could be

drawn in favor of the party against whom summary judgment is sought. Id.

(citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986); Matsushita

Electric Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). “If there is any

evidence in the record that could reasonably support a jury’s verdict for the

nonmoving party, summary judgment must be denied.” Am. Home Assurance



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Co. v. Hapag Lloyd Container Linie, GmbH, 446 F.3d 313, 315-16 (2d Cir. 2006)

(quotation omitted). In addition, “the court should not weigh evidence or assess

the credibility of witnesses” on a motion for summary judgment, as “these

determinations are within the sole province of the jury.” Hayes v. New York City

Dep’t of Corr., 84 F.3d 614, 619 (2d Cir. 1996).

          “A party opposing summary judgment ‘cannot defeat the motion by relying

on the allegations in his pleading, or on conclusory statements, or on mere

assertions that affidavits supporting the motion are not credible.’ At the

summary judgment stage of the proceeding, [p]laintiffs are required to present

admissible evidence in support of their allegations; allegations alone, without

evidence to back them up, are not sufficient.” Welch-Rubin v. Sandals Corp., No.

3:03-cv-481, 2004 WL 2472280, at *1 (D. Conn. Oct. 20, 2004) (quoting Gottlieb v.

County of Orange, 84 F.3d 511, 518 (2d Cir. 1996)). “Summary judgment cannot

be defeated by the presentation . . . of but a ‘scintilla of evidence’ supporting [a]

claim.” Fincher v. Depository Trust & Clearing Corp., 604 F.3d 712, 726 (2d Cir.

2010) (quoting Anderson, 477 U.S. at 251).

    IV.   Discussion

          While the parties have submitted a veritable avalanche of paper along with

their summary judgment briefing, the Court has limited the issues that it will

consider on summary judgment to (1) whether the statutes of repose may be

tolled as to LoGrasso due to fraudulent concealment of facts giving rise to a

cause of action; and (2) whether Defendants committed fraud by omission by

failing to warn Plaintiffs of the risk of long-term degenerative neurological



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disorders resulting from head trauma. Although the legal standards for fraud by

omission and fraudulent concealment are not identical, both require that the party

committing the fraudulent omission or concealment actually knew of the

concealed or omitted fact.

         1. LoGrasso’s Claim is Barred by Connecticut’s Statutes of Limitation
            and Repose
      Connecticut General Statutes § 52-577 allows a tort action to be brought

within three years “from the date of the act or omission complained of.” Conn.

Gen. Stat. § 52-577. Operation of Section 52-577 cannot be delayed until the

cause of action has accrued, “which may on occasion bar an action even before

the cause of action accrues.” Prokolkin v. Gen. Motors Corp., 170 Conn. 289, 365

A.2d 1180, 1184 (1976). Because LoGrasso stopped wrestling in May 2007—and

he was therefore last exposed to the risks of neurological damage via repeated

head injuries years prior to the expiration of the statute of repose for tort claims—

his claim cannot survive unless the statute of repose is tolled.

      Section 52-595 tolls any statute of limitations or repose, including Section

52-577, if a defendant fraudulently conceals a cause of action from a plaintiff. See

Connell v. Colwell, 214 Conn. 242, 571 A.2d 116, 118 (1990) (concluding that “the

exception contained in § 52–595 constitutes a clear and unambiguous general

exception to any Connecticut statute of limitations that does not specifically

preclude its application.”). Section 52-595 provides, “If any person, liable to an

action by another, fraudulently conceals from him the existence of the cause of

such action, such cause of action shall be deemed to accrue against such person




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so liable therefor at the time when the person entitled to sue thereon first

discovers its existence.”

      To demonstrate fraudulent concealment of a cause of action, Lograsso

must offer evidence that the Defendant “(1) had actual awareness, rather than

imputed knowledge, of the facts necessary to establish the plaintiffs’ cause of

action; (2) intentionally concealed these facts from the plaintiffs; and (3)

concealed the facts for the purpose of obtaining delay on the plaintiffs’ part in

filing a complaint on their cause of action.” Falls Church Grp., Ltd. v. Tyler,

Cooper & Alcorn, LLP, 281 Conn. 84, 105 (2007). The standard of proof for

fraudulent concealment requires “clear, precise, and unequivocal evidence.” Id.

Additionally, LoGrasso’s claims cannot survive under the doctrine of fraudulent

concealment if undisputed evidence shows that LoGrasso “discovered or should

have discovered actionable harm in the form of an increased risk for latent,

permanent degenerative neurological conditions prior to 2013,” McCullough v.

World Wrestling Entm’t, Inc., 172 F. Supp. 3d 528, 549 (D. Conn. 2016).

      Plaintiff has offered no evidence to suggest that Defendant was aware of

the risk that repeated head injuries of the type commonly suffered by

professional wrestlers could cause permanent degenerative neurological

conditions prior to September 5, 2007, when Benoit’s CTE diagnosis was publicly

revealed. Plaintiff admits that he was aware of the Benoit murder suicide, that the

incident was a common topic of conversation among professional wrestlers, and

that he considered Benoit a friend prior to Benoit’s death. LoGrasso also knew

that Benoit’s CTE diagnosis was publicly reported around the time of the crime.



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Although WWE attempted to discredit the finding that Benoit had CTE, and tried

to distance WWE from Benoit’s behavior, no reasonable jury could find that WWE

concealed the fact of Benoit’s diagnosis from LoGrasso. Because Plaintiff has

offered no evidence from which a reasonable jury could conclude that Defendant

fraudulently concealed the cause of action in this case from LoGrasso, the Court

finds that LoGrasso’s claim is time-barred. Moreover, for the reasons discussed

below, even if no statute of repose applied to LoGrasso’s claim, it would not

survive summary judgment.

          2. Plaintiff has Failed to Raise a Genuine Issue of Fact that would
             Preclude Summary Judgment on the Fraudulent Omission Claim
       “The essential elements of an action in common law fraud . . . are that: (1)

a false representation was made as a statement of fact; (2) it was untrue and

known to be untrue by the party making it; (3) it was made to induce the other

party to act upon it; and (4) the other party did so act upon that false

representation to his injury.” Censor v. ASC Techs. of Connecticut, LLC, 900 F.

Supp. 2d 181, 222-23 (D. Conn. 2012) (quoting Sturm v. Harb Dev. LLC, 298 Conn.

124, 142, 2 A.3d 859 (Conn. 2010)). “Fraud by nondisclosure, which expands on

the first three of [the] four elements [of fraud], involves the failure to make a full

and fair disclosure of known facts connected with a matter about which a party

has assumed to speak, under circumstances in which there was a duty to speak .

. . . A lack of full and fair disclosure of such facts must be accompanied by an

intent or expectation that the other party will make or will continue in a mistake,

in order to induce that other party to act to her detriment.” Saggese v. Beazley




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Co. Realtors, 155 Conn. App. 734, 752-53 (2015) (quoting Reville v. Reville, 312

Conn. 428, 441, 93 A.3d 1076 (2014)).

      “[T]he party asserting [a fraud] cause of action must prove the existence of

the first three of [the] elements by a standard higher than the usual fair

preponderance of the evidence, which higher standard we have described as

clear and satisfactory or clear, precise and unequivocal.” Saggese 155 Conn.

App. at 753 (quoting Harold Cohn & Co. v. Harco Int’l, LLC, 72 Conn. App. 43, 51

(2002)). This “clear and convincing standard . . . forbids relief whenever the

evidence is loose, equivocal or contradictory.” Saggese, 155 Conn. App. at 754

(quoting Shelton v. Statewide Grievance Committee, 85 Conn. App. 440, 443-44

(2004)).

      While Connecticut law does not foreclose recovery for fraud by omission

where the omitted facts were publicly available, a plaintiff’s claim may not survive

summary judgment unless he or she offers evidence that this publicly available

information was known to the defendant. See McCullough v. World Wrestling

Entm’t, Inc., 172 F. Supp. 3d 528, 566 (D. Conn.), reconsideration denied, No. 3:15-

CV-001074 (VLB), 2016 WL 3962779 (D. Conn. July 21, 2016), and appeal

dismissed, 838 F.3d 210 (2d Cir. 2016) (stating (1) “The Court does not

read Saggese as holding that under Connecticut law a defendant cannot be held

liable for non-disclosure of publicly available facts”; and (2) “the development of

a factual record may reveal that WWE did not possess or fail to disclose “known

facts” about CTE or other degenerative conditions and whether such conditions

could result from participation in WWE wrestling events.”).



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      To survive summary judgment, Plaintiffs must raise material issues of fact

that would allow a reasonable jury to find by clear and convincing evidence that

Defendants knowingly and intentionally failed to fully and fairly disclose the risk

that concussions could cause permanent degenerative neurological disorders for

the purpose of inducing Plaintiffs to continue wrestling, and that Defendants had

a duty to disclose such information. Plaintiffs must also raise material issues of

fact that would allow a reasonable jury to find by a preponderance of the

evidence that Plaintiffs relied on Defendants’ fraudulent omissions to their

detriment.

       “In ruling on a motion for summary judgment, the judge must view the

evidence presented through the prism of the substantive evidentiary burden.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 254 (1986). This is because “[i]t

makes no sense to say that a jury could reasonably find for either party without

some benchmark as to what standards govern its deliberations and within what

boundaries its ultimate decision must fall, and these standards and boundaries

are in fact provided by the applicable evidentiary standards.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 254–55 (1986). Therefore, where the law requires that

an element of a cause of action be satisfied by “clear and convincing” evidence

at trial, the Court must grant summary judgment where evidence presented is of

“insufficient caliber or quantity to allow a rational finder of fact to find [that

element] by clear and convincing evidence.” Id.

      Defendants argue that Plaintiffs’ fraudulent omission claims cannot survive

summary judgment because (1) Plaintiffs admitted in their depositions that they



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did not know they were asserting fraud claims and could not identify anyone who

had defrauded them; (2) Plaintiffs have offered no evidence that Defendants

allegedly failed to disclose information about the risk of permanent degenerative

neurological disorders with the specific intent to defraud the Plaintiffs; (3)

Plaintiffs have offered no evidence that Defendants knew of a link between

professional wrestling and permanent degenerative neurological conditions prior

to a 2007 press release which revealed that the wrestler Stephen Benoit was

posthumously diagnosed with chronic traumatic encephalopathy (“CTE”); (4)

Plaintiffs have offered no evidence to support their claim that they detrimentally

relied on Defendants’ alleged omission; and (5) Defendants had no duty to

disclose information about the risks of permanent degenerative neurological

conditions to the Plaintiffs.

        LoGrasso’s claim cannot survive summary judgment because undisputed

evidence in the record demonstrates that WWE did not know of a potential link

between concussions and permanent degenerative neurological disorders until

after LoGrasso stopped wrestling. LoGrasso therefore could not have relied

upon any omission to choose to continue wrestling, and any injury he suffered

while wrestling could not have resulted from WWE's failure to state what it did not

know.

        With respect to Singleton, the parties agree that WWE was aware of the risk

that concussions or subconcussive blows could cause permanent degenerative

neurological conditions before Singleton sustained his career-ending head injury

in September 2012. Defendant argues that WWE cannot be held liable for fraud



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by omission, because it had developed a concussion testing and education

program in which Singleton participated or should have participated prior to his

injury during which WWE disclosed to Singleton the risk of sustaining a brain

injury while wrestling.

      In particular, Singleton was instructed to attend a presentation on August

9, 2012 relating to drug abuse and concussion risks. The presentation was

approximately 45 minutes long, and included a description of the WWE’s

concussion management policy. While the portion of the presentation discussing

concussions is relatively brief, Dr. Maroon stated during the presentation, “What

happens if you take too many headshots and you go back into the ring before any

symptoms have been cleared? . . . If your brain doesn’t completely respond and

heal and you get hit again, there is a potential danger of having more damage to

your brain.” [Def. Exh. 48]. Dr. Maroon then displayed a slide showing the brain

of an NFL player who he said died from CTE, and stated that while he did not

think it was possible to eliminate concussions among WWE performers, that

WWE had implemented a testing program that was the same as the one now used

by the NFL to prevent any performers from returning to the ring before they are

completely asymptomatic. Id.

      Singleton denies attending this program, and points out that while

Defendants have claimed the presentation was mandatory, no efforts to track

attendance were undertaken. However, Defendants have offered undisputed

evidence that the presentation took place, and that Singleton’s supervisor was

instructed to “[p]lease have all Talent present for the meeting.” [Def. Exh. 60].



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Holding a training session in which it is explained that repeated concussions can

cause CTE and that CTE can be fatal, is not consistent with a deliberate effort to

withhold information for the purpose of inducing Singleton to continue wrestling.

Plaintiffs have offered no evidence that Singleton’s alleged failure to attend this

session was the result of a deliberate effort on WWE’s part to prevent him from

learning about concussions or CTE. Consequently, no reasonable jury could find

anything other than that WWE attempted to inform Singleton about the risks of

concussions. His failure to cooperate with that attempt—or WWE’s allegedly

negligent failure to ensure that all talent in fact attended the presentation—do not

transmute WWE’s effort to educate performers about concussion risks into

fraudulent omission.

         WWE attempted to disclose to Singleton the risk that repeated concussions

or subconcussive blows could cause the permanent degenerative neurological

disorder CTE, and Singleton was injured after WWE made this attempt.

Accordingly, Plaintiff has not offered any evidence suggesting that WWE

intentionally omitted any information in order to induce Singleton to continue

wrestling. Plaintiff has therefore failed to raise a genuine issue of fact that would

preclude summary judgment as to Singleton’s fraud by omission claim.

    V.   Conclusion

         For the foregoing reasons, Defendant’s motion for summary judgement is

GRANTED. The Clerk is directed to enter judgment for the Defendant as to

Plaintiffs Singleton and LoGrasso.




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      Once again, the Court notes Plaintiffs' counsels have asserted facts and

advanced legal theories for which there is no reasonable evidentiary and legal

basis; and once again cautions that such conduct subjects counsel to Rule 11

sanctions. Counsel are advised to read the record in its entirety before filing

anything with the Court to assure their reasonable belief in any and all future

assertions of fact and law.


IT IS SO ORDERED.                                 VANESSA
                                                                  Digitally signed by VANESSA BRYANT
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                                                   Hon. Vanessa L. Bryant
                                                   United States District Judge
Dated at Hartford, Connecticut: March 27, 2018




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